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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

J.G.,                                 :
                                      :
                                      :
                                      :    CIVIL ACTION FILE
         vs.                          :
                                      :    NO. 1:20-cv-05233-SEG
NORTHBROOK INDUSTRIES,                :
INC., D/B/A UNITED INN AND            :
SUITES,                               :
                                      :
               Defendant.             :

            PLAINTIFF J.G.’S RESPONSE IN OPPOSITION TO
         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND
                MEMORANDUM OF LAW IN SUPPORT

         COMES NOW, J.G. (“Plaintiff”), by and through the undersigned counsel,

and hereby respectfully moves that the Court deny Defendant’s Motion for Summary

Judgement. In support, Plaintiff encloses a Memorandum of Law in Opposition to

Defendant’s Motion for Summary Judgment.
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      For years, law enforcement, hotel guests, and the Internet have known what

United Inn now tries to deny—that commercial sex activity was commonplace at the

United Inn. The hotel’s reputation as a hotspot for commercial sex culminated in

the tragic and foreseeable: J.G. was sex trafficked as a 16-year-old at United Inn for

approximately 35 straight days in October to November 2018, and for approximately

3 straight days in January 2019. Over those periods, J.G. had sex for money with

approximately 12 men per day in United Inn rooms and in cars parked in the hotel

parking lot, while violent, armed traffickers collected the money and paid a portion

of it to the United Inn for continuing room rentals.

      On October 29, 2018, the Rockdale County Sherriff’s Office sent multiple

“Be On the Lookout” flyers to United Inn advising the hotel that J.G. was a

“missing” 16-year-old suspected of being at United Inn since October 9, 2018.

United Inn does not know what it did with the notices. J.G. had been trafficked at

United Inn for weeks when the hotel received the flyers and J.G. remained there for

weeks afterwards. The record shows that under the control of her violent, armed

traffickers, J.G. posted publicly available ads for sex at the hotel, loitered in common

areas in provocative clothing to attract sex buyers, and had sex with dozens and

dozens of men in rooms and cars at United Inn. The record also shows that during

J.G.’s time at United Inn, the staff repeatedly talked to J.G. and observed her age,

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 attire, appearance, and conduct; observed the volume of visitors to her traffickers’

 rooms; repeatedly sold J.G., a 16-year-old, condoms and other goods; and entered

 the rooms in which she was trafficked with other minors and women, rooms that

     contained drugs and drug paraphernalia, guns, condoms, and extra linens. J.G.’s

     traffickers “didn’t bother to hide” the evidence of crimes in their rooms, because

     they were “cool with everybody who worked up there” and United Inn “didn’t care.”

           In its motion for summary judgment, United Inn misconstrues the law and

     ignores the record to argue that minor sex trafficking was not “foreseeable,” and that

     it would have been “impossible” for United Inn staff to identify red flags suggesting

     that J.G. was being sex trafficked at the hotel. Because of the substantial evidence

     that sex trafficking was foreseeable at United Inn, and that United Inn knowingly

     profited from renting rooms to J.G.’s traffickers that it knew or should have known

     were used to traffic J.G., summary judgment is improper.

                                 STATEMENT OF FACTS

I.      J.G.’s Sex Trafficking at United Inn.

           As a 16-year-old, J.G. was sex trafficked at United Inn for roughly 35 days

 from approximately October 7 or 8, 2018 – November 14, 2018, and again for

 approximately 3 days in early January 2019. Ex. 1, J.G. Dep. at 14:17, 20:2-9, 30:1-

 6, 33:20-25, 35:16-23, 40:9-14. During the roughly 6-week period, J.G. had sex for

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money with approximately 12 men per day in United Inn rooms and in cars in the

United Inn parking lot, meaning more than 400 men purchased J.G. for sex at United

Inn in 2018 – 2019. Id. at 55:25-56:1, 56:15-16, 79:19-20. J.G. gave the money she

was paid for sex to her traffickers. Id. at 59:13-60:6; Ex. 2, N.S. Affidavit at ⁋ 13.

      United Inn’s staff regularly talked with J.G. and observed J.G.’s behavior,

attire, and appearance at the United Inn during the multi-week period she was

trafficked at the hotel. J.G. frequently loitered in hotel common areas scantily clad

to attract sex buyers. Ex. 1, J.G. Dep. at 83:20-21, 113:6-10. Indeed, one of J.G.’s

traffickers for approximately four weeks at United Inn, “Cash,” required her to

“stroll” every day around the hotel’s common areas looking for customers. Id. at

60:25-61:7, 84:18-85:4, 86:7-13. Most of J.G.’s dates at United Inn—out of the

hundreds she had during her approximately 6-week stay at the hotel—came from

men hanging around the hotel common areas and on Memorial Drive. Id. at 62:14-

18. United Inn had 36 surveillance cameras at the hotel, which included cameras

angled at the parking lots and Memorial Drive, where J.G. loitered and “strolled,”

and where at times she was sold for sex. Ex. 18, United Inn 30(b)(6) Depo., Feb.

22, 2023 at 158:13-15, 214:4-10. J.G. frequently went to the hotel store to exchange

linens, and/or to buy the necessary condoms, among other items. Ex. 1, J.G. Dep. at

82:9-18.

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      J.G.’s traffickers at United Inn, who went by “Cash” and “King,” used rooms

at the United Inn to sell drugs and to sell J.G. and other girls for sex. Ex. 1, J.G.

Dep. at 74:21-75:14, 93:22. The volume of visitors to the rooms in which J.G. was

trafficked at United Inn was high—not only were an average of 12 customers coming

to buy sex with J.G. per day, but there were additional customers coming to buy sex

with other girls (some of whom were minors) in the room with J.G., and still more

customers coming to buy drugs. Id. at 102:24-103:9; Ex. 2, N.S. Affidavit.

      When United Inn’s housekeeping staff cleaned the rooms in which J.G. was

trafficked, J.G.’s traffickers did not make efforts to hide or conceal their criminal

activities; her traffickers were “cool with everybody who worked up there,” “when

housekeeping came, nothing changed,” “they didn’t bother to hide nothing… they

didn’t care.” Ex. 1, J.G. Dep. at 93:3-94:13. Drugs, guns, condoms, and cash,

among other paraphernalia, were plainly visible in the rooms. Id. at 93:3-94:13. The

rooms with such visible evidence were rented to adult men who carried weapons

around the property and who had rented multiple rooms with multiple scantily clad

girls and young women staying in them. Id. at 36:7-13, 38:8-19, 48:18-25, 52:16-

22, 58:10-12; Ex. 2, N.S. Affidavit.

      On October 29, 2018, United Inn received multiple “Be on the Lookout”

notices from the Rockdale County Sherriff’s Office advising United Inn that J.G.

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was a “missing” 16-year-old believed to be at United Inn and that she had been

missing since October 9, 2018. Ex. 3, United Inn 30(b)(6) Dep., May 2, 2023 at

312:4-24, 313:2-316:7, 321:15-323:3; Ex. 4 (NBI 003097); Ex. 5 (NBI 003106); Ex.

6 (NBI 003099). The “Be on the Lookout” notice contained J.G.’s picture, age, race,

height, and weight, among other information. Ex. 3, United Inn 30(b)(6) Dep., May

2, 2023 at 315:22-24. United Inn is not sure what it did in response to the notices.

Ex. 3, United Inn 30(b)(6) Dep., May 2, 2023 at 322:20-326:3. United Inn’s practice

was to post notices of missing persons on an office wall with more than 20 notices,

though it is not sure it followed that practice with J.G.’s notices. Ex. 7, Ashar Islam

Dep., May 2, 2023 at 140:3-141:3. It did not: hold an all-staff meeting where it

showed staff the notices with J.G.’s picture and asked staff to be on alert, Ex. 7,

Ashar Dep., May 2, 2023 at 139:9-141:3, hire additional security after receiving the

notices, Ex. 3, United Inn 30(b)(6) Dep., May 2, 2023 at 327:4-9, or ask its security

to work more than 4 hours per day after receiving the notices. Ex. 3, United Inn

30(b)(6) Dep., May 2, 2023 at 327:18-21.

      United Inn’s staff regularly observed J.G.’s traffickers and engaged in

business with them. Ex. 1, J.G. Dep. at 31:2-5, 60:25-62:8, 104:15-105:1, 107:15-

108:3, 117:25-119:8; Ex. 2, N.S. Affidavit at ⁋ 9. J.G.’s traffickers rented and paid

for rooms at the United Inn, Ex. 1, J.G. Dep. at 31:1-21, 32:1-9, 46:1-4. They had

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multiple rooms rented at the United Inn, id., J.G. Dep. at 58:5 – 59:5, 61:24-62:6,

and stayed at the United Inn for extended periods, id., J.G. Dep. at 31:2-5, 60:25-

62:8; Ex. 2, N.S. Affidavit. Cash, one of J.G.’s traffickers for approximately four

weeks, went to the front desk with J.G. to move rooms multiple times during that

four-week period. Ex. 1, J.G. Dep. at 31:5-21, 32:6-9, 62:1-6. J.G. went to the front

desk with her traffickers, Cash and King, multiple times, as they purchased goods,

like condoms, and/or rented new rooms. Id. at 95:20-96:17. N.S., one of the minors

trafficked with J.G. in January 2019, saw one of J.G.’s traffickers at the hotel, King,

and believed that he lived there. Ex. 2, N.S. Affidavit at ⁋ 9.

      J.G’s traffickers talked regularly with United Inn employees and staff, Ex. 1,

J.G. Dep. at 31:9-21, 32:1-9, 46:1-4, 61:24-62:6, 107:15-108:3, and staff

accommodated special requests from J.G.’s traffickers, like allowing them to check

into their rooms early. Id. at 107:15-108:3. United Inn staff suggested that one of

J.G.’s traffickers, Cash, switch rooms because of the amount of traffic to his room.

Id. at 102:24-105:25. One United Inn staff person bought drugs from Cash in the

room in which J.G. was trafficked. Id. at 94:14-20, 99:10-100:15.

      J.G.’s traffickers trafficked other girls and women with J.G. at the United Inn.

Id. at 36:7-13, 38:8-19, 48:18-25, 52:16-22, 58:10-12; Ex. 2, N.S. Affidavit. During

the periods she was trafficked at United Inn, J.G. stayed in rooms at the United Inn

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  with other minors and other women who were trafficked at the hotel. Ex. 1, J.G.

  Dep. at 36:7-13, 38:8-19, 48:18-25, 52:16-22, 58:10-12; Ex. 2, N.S. Affidavit. Her

  traffickers were physically violent to women in J.G.’s presence, Ex. 1, J.G. Dep. at

  76:12-77:11, 109:5-9, and carried guns, id., at 76:12-16. J.G.’s traffickers controlled

  and monitored her movements at the United Inn. Id. at 62:19–63:13, 82:19-83:8,

  84:7-84:14, 86:7-15.

         In January 2019, when Plaintiff was trafficked in a room at United Inn with

  three other minor females, the United Inn manager came to the room to request

  money for the room. The money the girls paid for the room came from their being

  sold for sex at the United Inn. Ex. 2, N.S. Affidavit at ⁋⁋ 11 – 12.

II.   Commercial Sex Activity at United Inn Prior to J.G.’s Sex Trafficking. 1      0F




         The United Inn’s history of violent crime and sex crimes is too long to fully

  recount within the page limits. The complaint’s allegations have been exceeded and

  proven by at least five different eyewitnesses to commercial sex (four of whom are

  minor victims of sex trafficking at United Inn), 12 police reports detailing




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          J.G. does not concede or agree that only commercial sex crimes are relevant
  to establishing foreseeability and/or what United Inn knew or should have known
  about the risk of minor sex trafficking. But the volume of commercial sex activity
  at the property was so significant that it is not necessary in this brief to highlight
  other crimes (e.g., murders, aggravated assaults, etc.) that are relevant too.
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investigations and/or arrests just for sex-related crimes at the hotel prior to J.G.’s

trafficking, and multiple online reviews reporting sex crimes and safety issues.

      By 2015, the Dekalb County Police Department had identified the United Inn

as a “problem hotel[] … in Dekalb County for drug[s] and prostitution … it was like

a radar hotel that we knew about.” Ex. 15, Detective King Dep. at 18:25-19:10. The

Dekalb County Police Department viewed commercial sex as “common” and a

“problem” at United Inn. Id. at 18:25-19:10, 52:18-53:4. During the relevant period,

there were a “number of women” “working at the [United Inn]” “doing commercial

sex activities” who were working for several men at United Inn. Id. at 20:24-21:7,

27:24-28:23. The most popular website for commercial sex ads—Backpage—had a

publicly-available tool to filter search results to a certain area. Id. at 66:9-67:10.

When law enforcement used that tool, “9 out of 10” ads on Memorial Drive were

from United Inn. Id. at 33:22-34:10, 47:11-15. Some of the ads for sex at United

Inn involved minors. Id. at 54:9-55:6. The Dekalb County Police Department led

numerous operations at United Inn for commercial sex prior to J.G.’s trafficking,

including a 2017 operation with FBI regarding minor trafficking. Id. at 33:14-21.

      From 2012 – 2016, the Dekalb County Police Department came to the United

Inn at least seven times for commercial sex crimes specifically.           Ex. 16 at

PLAINTIFF-024272 - 24304. In 2017, the year before J.G. was trafficked at United

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Inn, commercial sex was rampant at the hotel. In May 2017, the United Inn manager

texted with a security guard at the hotel about a prostitution-related shooting at the

hotel. Ex. 3, United Inn 30(b)(6) May 2, 2023, 370:21-25. On June 2, 2017, a man

was arrested after beating a woman at the United Inn over monies owed for sexual

favors. Ex. 16 at PLAINTIFF-024305(UI&S)-24319(UI&S). On June 20, 2017,

police responded to a fight between a prostitute and her pimp at the United Inn. The

pimp left the prostitute’s room after the fight to go stay in another woman’s room at

the hotel (likely another prostitute). Id. at PLAINTIFF-024320(UI&S)-

24323(UI&S). From June 23 – 26, 2017, two 17-year-old girls were sex trafficked

together in the same room at United Inn—A.G. and G.W. 2 Ex. 8, A.G. Dep. at
                                                              1F




14:23-24; Ex. 9, G.W. Dep. at 14:12-13. On July 2 – July 4, and July 20 – July 21,

G.W. was trafficked at United Inn again. Ex. 9, G.W. Dep. at 158:22-159:8. On

July 20, 2017, the Metro Atlanta Child Exploitation Task Force conducted an

operation “in reference [to] child and adult prostitution” at the United Inn. Ex. 16 at

PLAINTIFF-024324(UI&S)-24325(UI&S).




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        A.G. and G.W. have each filed lawsuits against United Inn pending before
Judge Boulee. Their sex traffickers pled guilty to minor sex trafficking at United Inn
in violation of 18 U.S.C. 1591. United States v. Obie, Case No. 1:18-cr-00424-
MLB-JKL (N.D.Ga., Nov. 6, 2020), ECF No. 160; United States v. Anderson, Case
No. 1:18-cr-00424-MLB-JKL (N.D.Ga., April 1, 2021), ECF No. 177
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III.   United Inn’s Operations and Security. 3    2F




          United Inn has 172 rooms. Ex. 18, United Inn 30(b)(6) Dep., Feb. 22, 2023

   at 158:16-159:9, 211:9-15. From 9pm – 10pm, and 2am – 6am, United Inn had one

   person working at the hotel. Id. at 49:17-50:7. United Inn only had one security

   guard at the property from 10pm – 2am and did not have security outside of those

   hours. Ex. 3, United Inn 30(b)(6) Dep., May 2, 2023 at 275:14-276:1, 277:9-15.

   The Dekalb County Police Department recommended that United Inn hire additional

   security, but United Inn did not do so. Ex. 18, United Inn 30(b)(6) Dep., Feb. 22,

   2023 at 113:23-114:3; 154:5-13, 155:19-22.

          The Dekalb County Police Department notified the United Inn about

   commercial sex crimes at the hotel. Ex. 13, United Inn’s Response to RFA No. 45.

   The United Inn manager claimed to be aware of 5-6 instances of prostitution at the

   hotel. Ex. 14, Ashar Islam Dep., Feb. 22, 2023 at 57:12-59:7. In May 2017, the

   United Inn owner texted with a security guard at the hotel about a prostitution-related

   shooting at the hotel. United Inn 30(b)(6) May 2, 2023, 370:21-25. The United Inn

   owner talked with the Dekalb County Police Department about how to reduce


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           J.G. does not concede or agree that only commercial sex crimes are relevant
   to establishing foreseeability and/or what United Inn knew or should have known
   about the risk of minor sex trafficking. But the volume of commercial sex activity
   at the property was so significant that it is not necessary in this brief to highlight
   other crimes (e.g., murders, aggravated assaults, etc.) that are relevant too.
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prostitution on the property. United Inn 30(b)(6) Dep., Feb. 22, 2023 at 110:16-

111:24, 121:2-9. United Inn believes that signs of sex trafficking and prostitution

are the same and include traffic in and out of a hotel room. United Inn 30(b)(6) Dep.,

Feb. 22, 2023 at 53:25-55:7; Ashar Islam Dep., Feb. 22, 2023 at 58:9-14, 185:18-

25. United Inn has called the Dekalb County Police Department “many times” about

rooms with “too much traffic going on.” United Inn 30(b)(6) Dep., Feb. 22, 2023 at

110:24, 121:2-21, 185:18-25. 4 United Inn did not post anti-trafficking notices at its
                              3F




property, a misdemeanor under O.C.G.A. § 16-5-47. See Ex. 21, Dft’s Resp. to Pl’s

2nd RPDs at 5.

      The United Inn did not conduct background checks on its staff, Ex. 3, United

Inn 30(b)(6) Dep., May 2, 2023 at 380:18-381:2, did not review online reviews about

the hotel outside of Google reviews, Ex. 18, United Inn 30(b)(6) Dep., Feb. 22, 2023

at 134:17-135:7, and did not monitor popular commercial sex websites, like

Backpage, for advertisements relating to commercial sex at the United Inn, id. at

123:8-25. In 2018, the United Inn pled guilty to 447 violations of the Dekalb County

Code and paid a $60,345 fine, Ex. 20, NBI 002431-002432; Ex. 3, United Inn




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         According to United Inn’s manager, “inappropriate clothes” also can be a
sign of commercial sex activity. Ex. 14, Ashar Islam Dep., Feb. 22, 2023 at 58:4-6.
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30(b)(6) May 2, 2023 at 344:11–346:12, because the United Inn “regularly violated”

Dekalb County codes, Ex. 18, United Inn 30(b)(6) Feb. 22, 2023 at 73:10-16.

                                LEGAL STANDARD

      Summary judgment is only appropriate if the movant shows there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). A material fact is any fact that “is a legal

element of the claim under the applicable substantive law which might affect the

outcome of the case.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).

A genuine dispute exists when “the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986).

      In Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714 (11th Cir. 2021), the Eleventh

Circuit held that to state a claim for beneficiary liability under the TVPRA, a plaintiff

must plausibly allege that the defendant: (1) knowingly benefited, (2) from taking

part in a common undertaking or enterprise involving risk and potential profit, (3)

that the undertaking or enterprise violated the TVPRA as to the plaintiff, and (4) the

defendant had constructive or actual knowledge that the undertaking or enterprise

violated the TVPRA as to the plaintiff. Id. at 726. (Doc. 44 at 6-7).




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                                   ARGUMENT

 I.    United Inn is Not Entitled to Summary Judgment on J.G.’s TVPRA
       Claim Because of Disputed Issues of Material Fact.

       United Inn does not raise arguments about the first or third elements of J.G.’s

TVPRA claim, and as such, has conceded those elements. It only argues that it did

not take part in a common undertaking involving risk and potential profit (element

two) and that it did not have at least constructive knowledge that the common

undertaking violated the TVPRA as to J.G. (element four).

          a. Doe #1 is dispositive of United Inn’s TVPRA Arguments.

       Before addressing United Inn’s arguments as to the second and fourth

elements of J.G.’s TVPRA claims, J.G. explains why United Inn’s TVPRA

arguments fail under the Eleventh Circuit’s precedential ruling in Doe #1.

       First, United Inn ignores that the allegations in Doe #1 were insufficient as to

franchisors but would have been sufficient as to hotel owners-operators. The Doe

#1 plaintiffs “were sex trafficking victims who sued the franchisors of the hotels at

which they were trafficked.” (Doc. 44 at 9). The plaintiffs in Doe #1 alleged that

the franchisors participated in a venture because “the franchisors sent inspectors to

the hotels who would have seen signs of sex trafficking” and the franchisors

“received reviews mentioning sex work occurring at the hotels.” (Doc. 44 at 9). The


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Eleventh Circuit held such allegations were insufficient to establish the franchisors’

participation in a venture. (Doc. 44 at 9). But Judge Jordan “emphasize[d]” in his

concurrence that “similar claims [to those raised against the franchisors] against

those who own, operate, or manage the hotels in question (e.g., franchisees) would

withstand a Rule 12(b)(6) motion to dismiss.” Doe #1, 21 F.4th at 729 (emphasis

added).

      Judge Jordan’s concurrence fits like a glove here. J.G. sued the hotel owner-

operator, United Inn, not a franchisor. 5 4F   United Inn has conceded that J.G.’s

allegations are “substantially similar” to those in Doe #1. (Doc. 37-1 at 8). And J.G.

has developed significant record evidence demonstrating that United Inn knew or

should have known that J.G.’s traffickers were trafficking J.G. and other minors and

women at United Inn for weeks and months, and, nevertheless, United Inn continued

to rent rooms for profit to J.G.’s traffickers. In sum, United Inn misconstrues Doe

#1 and ignores that the Eleventh Circuit would have found “similar claims” to J.G.’s

sufficient against a hotel owner-operator, like United Inn.

      Second, United Inn suggests that J.G. must “prove that a defendant took part

with other participants in a ‘common undertaking of sex trafficking.’” (Doc.104 at


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         As this Court has observed: “[u]nlike in [Doe #1] (which involved defendant
hotel franchisors), Plaintiff brings her TVPRA beneficiary claim against the operator
of the hotel in which she was allegedly trafficked.” (Doc. 44 at 12).
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4). But Doe #1 asks whether a hotel owner-operator “t[ook] part in a common

undertaking or enterprise involving risk and potential profit,” not a “common

undertaking of sex trafficking.” Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 726

(11th Cir. 2021). 6 Doe #1 holds that a beneficiary TVPRA claim does not require
                 5F




proof that “the defendant ‘knowingly facilitated a violation’ under the TVPRA”

(Doc. 44 at 8) because it would “make the [18 U.S.C. §1595(a)] ‘should have known’

language superfluous,” 21 F.4th at 724. Here, J.G. has alleged and developed record

evidence that United Inn knowingly profited from rental of rooms that it knew or

should have known were used to traffic J.G. Proper review of Doe #1 establishes

that the evidence supporting J.G.’s allegations is sufficient to state a beneficiary

claim against United Inn under §1595(a) and summary judgment is improper.

          b. Substantial Evidence Shows that United Inn “Participated in a
             Venture”—i.e., That it Took Part in a Common Undertaking or
             Enterprise Involving Risk and Potential Profit.

      Not only does United Inn mischaracterize Doe #1, but it also incorrectly

analyzes the second and fourth elements of a beneficiary claim as outlined in Doe


      6
         Doe #1 uses the phrase, “common undertaking of sex trafficking,” twice in
the opinion because “every time the [Doe #1] complaints refer to ventures, they refer
to ‘sex trafficking ventures.’” Doe #1, 21 F.4th at 727. The J.G. complaint is
different. For example, at the outset of J.G.’s complaint, she alleges that United Inn
participated in the venture of running the hotel, renting rooms, and “collect[ing] fees
for rental of those rooms” “notwithstanding that it knew or should have known that
Plaintiff was a victim of sex trafficking” in those rooms. (Doc.1 at 3).
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#1. As to the second element, United Inn claims that “Plaintiff has produced no

evidence that United Inn participated in the common undertaking of sex trafficking,”

and therefore summary judgment is appropriate. This argument fails.

      First, United Inn argues J.G. has “produced no evidence that United Inn

participated in the common undertaking of sex trafficking.” (Doc. 104 at 7). That is

not the legal standard. Second, even if United Inn had stated the correct legal

standard for participation in a venture (it did not), United Inn’s argument that J.G.

“produced no evidence” of the hotel’s participation in an “undertaking” “involving

risk” of J.G. being sex trafficked and earning “potential profit” from the sex

trafficking of J.G. is specious. Contrary to United Inn’s claim, there is substantial

evidence of United Inn’s awareness of both the overarching risk of rooms at its hotel

being used for sex trafficking and the specific risk of profiting from room rentals to

J.G.’s traffickers for the sex trafficking of J.G. See Statement of Facts. 7 Third,
                                                                            6F




United Inn ignores this Court’s prior statement that a plaintiff can establish

participation in a venture under 1595(a) through evidence of a “direct association”




      7
        United Inn admits it profited from renting hotel rooms to J.G.’s traffickers
at United Inn, (Doc. 104 at 5), but claims that is insufficient to establishing
participation in a venture. The evidence shows that United Inn did far more.


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or a “continuous business relationship” between Northbrook and her traffickers.

(Doc. 44 at 12). J.G. has developed extensive record evidence of both.

          As to direct association: J.G. testified that a United Inn employee bought drugs

from one of Plaintiff’s traffickers in the room where J.G. was being sold for sex, Ex.

1, J.G. Dep. at 94:14-20, 99:10-100:15, warned the trafficker about too much traffic

into his room, id., at 104:15-105:25, and accommodated his requests for early check-

ins, id., at 107:15-108:3. Such “allegations directly link specific conduct of United

Inn employees to the advancement of the sex trafficking operation and, as such, are

sufficient to satisfy the second element of the TVPRA beneficiary claim.” (Doc. 44

at 13).

          Whether such conduct “would have fallen outside the scope of that

individual’s employment” is a fact issue for a jury trial. See Johnson St. Props., LLC

v. Clure, 805 S.E.2d 60, 66 (Ga. 2017) (“questions of the existence and extent of an

agent’s authority are generally for the triers of fact”). Here, there is evidence that,

for example, United Inn did not conduct background checks of its employees; United

Inn had an extensive history of commercial sex on the property before J.G.’s

trafficking; law enforcement recommended United Inn enhance its security and

United Inn did not; United Inn did not post legally required anti-trafficking notices,

which is a criminal misdemeanor; and United Inn staff regularly entered rooms with

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extensive paraphernalia from drug and sex trafficking. Taken together, these types

of facts create a jury question whether the staff member’s conduct was authorized. 8
                                                                                   7F




      As to “continuous business relationship,” the evidence shows that J.G. was

trafficked at the hotel for approximately 40 days across October – November 2018

and January 2019, and that during that period, J.G.’s traffickers rented rooms that

United Inn knew or should have known were used to traffic J.G. Further, J.G. has

established that her traffickers operated at the United Inn on an ongoing basis: they

had multiple rooms reserved at United Inn at one time; they appeared to live at the

United Inn; they talked with staff regularly about moving rooms or adding rooms to

the reservation; they trafficked other women and girls at the property; their rooms

had condoms, drugs, guns, and a large number of linens which housekeeping staff

saw; they monitored J.G. on the property and frequently walked with her as she

loitered in common areas; they accompanied J.G. to the front desk to buy goods or

switch rooms; and the rooms they rented had a high volume of visitors, including

commercial sex buyers and drug buyers. See Statement of Facts. Such allegations

are “sufficient to plausibly allege” that United Inn “participated in a venture with

Plaintiff’s traffickers by renting rooms to people it knew or should have known were


      8
       J.G. has sued United Inn for violation of 1595(a) (Count I) and for common
law negligence (Count II). J.G.’s negligence claim includes negligent hiring,
supervision, and retention. United Inn says nothing about those claims.
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engaging in sex trafficking.” Doc. 44 at 14. J.G. has presented evidence proving

such allegations, so summary judgment is improper on the second element.

         c. J.G. Has Developed Record Evidence that United Inn Knew or
            Should Have Known that J.G. was Trafficked at the United Inn.

      United Inn’s argument on what it “knew or should have known” about J.G.’s

sex trafficking amounts to a closing argument for trial and should be summarily

rejected at the summary judgment stage because it ignores the evidence.

      United Inn has conceded that high traffic into and out of a room is a sign of

commercial sex activity and that it had 36 surveillance cameras covering its property

to monitor activity. Ex. 18, United Inn 30(b)(6) Dep., Feb. 22, 2023 at 53:25-55:7,

158:13-15, 214:4-10. And the United Inn manager has said that “inappropriate

clothes” are another sign of commercial sex activity. Ex. 14, Ashar Islam Dep., Feb.

22, 2023 at 58:4-6. United Inn’s acknowledgement of these signs of commercial

sex, and of its ability to monitor its premises via cameras, creates a fact question

about whether it knew or should have known that J.G., a child, loitered in common

areas scantily clad so that hundreds of men could pay her for sex.

      Beyond United Inn’s admissions, substantial evidence establishes a fact

question as to whether United Inn “knew or should have known” that J.G. was sex

trafficked at the United Inn. See Statement of Facts. The evidence shows that United

Inn “knew” of J.G.’s trafficking when it accommodated her traffickers’ early check-
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in requests and then warned them to switch rooms due to high traffic. Ex. 1, J.G.

Dep. at 104:15-105:25, 107:15-108:3. Also, this Court found certain “should have

known” allegations sufficient at the 12(b)(6) stage, and the evidence now supports

those allegations—e.g., J.G.’s age, scant attire, and loitering on the property around

armed men who had multiple rooms reserved at the hotel with multiple girls and

women in the rooms; J.G.’s short meetings with dozens of men in cars and rooms at

the hotel; J.G.’s interactions with staff in scant clothing to buy condoms and to pay

for rooms with other girls in them; the drug and sex paraphernalia in the rooms in

which J.G. was trafficked. (Doc. 44 at 19). In sum, United Inn’s argument on “knew

or should have known” should be rejected.

II.    Defendant Is Not Entitled to Summary Judgment on J.G.’s Negligence
       Claim.

       a. United Inn Owed J.G. a Duty of Ordinary Care Because She Was
          An Invitee of United Inn.

       J.G. was an invitee at United Inn because she was a customer at United

Inn, and because she was a guest of its invitees, King and Cash.

       As this Court has observed, the test to determine whether a person is an

invitee is, in relevant part, whether she “had present business relations with the

owner or occupier which would render [her] presence of mutual benefit to

both[.].” (Doc. 44 at 21.) Freeman v. Eicholz, 705 S.E.2d 919, 923 (Ga. App.

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2011). J.G. was an invitee of United Inn because her presence was of “mutual

benefit” to J.G. and United Inn. Indeed, J.G. frequented the store at United Inn

to buy condoms, food, and other items. Ex. 1, J.G. Dep. at 82:9-18; Ex. 2, N.S.

Affidavit ¶ 7. Also, in January 2019, J.G. and other minors paid the United Inn

manager directly for the room in which they were being sex trafficked. Ex. 2,

N.S. Affidavit at ⁋⁋ 11 – 12. While “[m]onetary consideration is not essential to

invitee status,” it is indicative of it. McGarity v. Hart Elec. Membership Corp.,

307 Ga. App. 739, 743 (2011). J.G.’s payments to United Inn for goods and a

room gave her invitee status. Cham v. ECI Management Corporation, 311 Ga.

170 (2021) (quoting Anderson v. Cooper, 214 Ga. 164, 169 (1958).) Further,

J.G. was an invitee because she was a guest of invitees, her traffickers. As this

Court has noted: “in most circumstances, an invitee’s guest stands in the invitee’s

shoes and is herself an invitee.” (Doc. 44 at 22.) That applies here.

      United Inn mistakenly argues (again) that J.G. was not an invitee because

she was not at United Inn “for any lawful purpose.” (Doc. 104 at 11.) This Court

previously rejected the same argument, because the question is not whether J.G.

was engaged in unlawful activity, but rather whether United Inn “induced or led

Plaintiff to come upon its property for a lawful purpose.” (Doc. 44 at 24.) It did,




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by providing lodging to J.G. and selling goods to her. Therefore, J.G. was an

invitee.

      b. The Sex Trafficking Of Minors At United Inn and Suites Was
         Foreseeable.

      Despite a long history of violent crimes and sex crimes at United Inn,

United Inn claims the past crimes were not “substantially similar” to J.G.’s minor

sex trafficking, and, therefore, J.G.’s minor sex trafficking was not

“foreseeable.” United Inn’s argument is wrong factually and legally.

      The issue of foreseeability “is generally reserved to the trier of fact” and

should be here. Georgia CVS Pharmacy, LLC v. Carmichael, 316 Ga. 718, 719

(2023). In Carmichael, 9 the Court held that a premises liability plaintiff is not
                         8F




required to point to a past crime, substantially similar or not, to prove reasonable

foreseeability. “While evidence of substantially similar prior crimes … may

often be one of the probative considerations in answering” whether a crime could

be “anticipate[d],” such evidence is “not a required consideration, and other

circumstances may be relevant, too.” Id., at 732. In Suresh and Durga, Inc. v.

Doe, the Georgia Court of Appeals reached the same obvious conclusion on very

similar facts to this case. There, the defendant argued “that the prior crimes


      9
        United Inn relies on Sturbridge Partners, Ltd v. Walker, 267 Ga. 785
(1997), which Carmichael overruled. 316 Ga. at 732.
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committed [at the hotel ] … were not substantially similar enough to the unique

crime of sex trafficking to render Doe’s injuries foreseeable.” 894 S.E.2d 602,

607 (Ga. Ct. App. 2023). But the Court of Appeals found that all types of prior

crime at the hotel were relevant to the defendant’s knowledge, id. at 608, and

based its findings on facts that apply here, including lengthy history of crime,

testimony of its open and obvious nature, security cameras allowing employees

to see the activity, and hotel employees’ interactions with sex trafficking victims

and traffickers.

      Even if United Inn’s foreseeability argument correctly stated the law (it

does not), substantial evidence of prior sex crimes at United Inn and prior minor

sex trafficking shows United Inn was aware of the risk before J.G.’s trafficking.

Just in the 12 months prior to J.G.’s trafficking at United Inn, two minors were

trafficked at United Inn and the FBI and Dekalb County Police Department

conducted a separate operation into minor trafficking at United Inn. Ex. 16

(Police Reports); Ex. 14, Ashar Islam Dep., Feb. 22, 2023 at 62:10-63:9. As

such, United Inn’s foreseeability arguments are based on overruled law and an

incomplete review of the evidence and should be rejected. 109F




      10
         Reasonable foreseeability “asks simply whether the proprietor had
sufficient reason to anticipate the criminal act.” Carmichael, 316 Ga. at 728.
United Inn had sufficient reason to anticipate minor sex trafficking based on its
                                        23
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      c. The Record Evidence Establishes that United Inn Had Superior
         Knowledge of the Risk of Minor Sex Trafficking on its Premises.

      United Inn’s claim that it is entitled to summary judgment based on J.G.’s

“superior knowledge” of the risk of sex trafficking at United Inn fails as a matter

of fact and law. The owner testified that he is “more knowledgeable about the

property than anybody else.” Ex. 18, United Inn 30(b)(6) Dep., Feb. 22, 2023 at

34:19-24. By contrast, J.G. had never been to the property before October 2018.

Ex. 1, J.G. Dep. at 20:2-9, 27:23-25. J.G. did not chose to go to the United Inn, was

sex trafficked at United Inn by people she had never met before arriving (but who

were known to United Inn), and had no foreknowledge of United Inn or its crime.

United Inn’s argument that J.G had greater knowledge about the risk of minor

sex trafficking is wrong.

      Even if J.G. did have superior knowledge (she did not), the rule still does

not fit here. While it is true that a plaintiff is not entitled to recover if the

“undisputed evidence demonstrates that the plaintiff’s knowledge of the hazard

was equal to or greater than that of the defendant,” Norman v. Jones Lang LaSalle

Americas, Inc., 277 Ga. 621, 624 (2006), there are two applicable exceptions.



knowledge of a history of commercial sex on the property. See Statement of
Facts at page 10. Commercial sex (or prostitution) involving a minor is criminal
sex trafficking. See 18 U.S.C. 1591.
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      First, where the potential hazard arises from a third party’s acts, a

plaintiff’s knowledge of the hazard only bars recovery when “[e]xposure to the

known risk [was] voluntary[y], the result of deliberate choice.” Travis v. Quiktrip

Corporation, 339 Ga. App. 551, 555 (2016). “The defense of assumption of risk

assumes that the actor, without coercion of circumstances, chooses a course of

action with full knowledge of its danger and while exercising a free choice[.]”

Id. J.G.’s trafficking at United Inn was not “voluntary,” a “deliberate choice,”

free of “coercion,” or made with “full knowledge.” At 16, J.G. did not choose

to go to the United Inn. Ex. 1, J.G. Dep. at 27:21-22, 29:12-17.         She was

abandoned there, and while loitering on the property met a man who went by

“King,” and he offered her a place to stay. Id. at 28:21-29:9, 45:23-48:25, 48:18-

51:8. Later, he gave her drugs and became violent and trafficked her. Id. at 50:1-

51:8, 52:6-22, 55:4-13, 73:9-20, 76:9-77:11. After a fight about money, he

kicked her out of his room. Id. at 54:17-20, 60:1-6. While loitering at United

Inn, J.G. met a man who went by “Cash,” and he gave her a place to stay and drugs

before becoming violent towards women in front of J.G. and trafficking her. Id. at

60:16-19, 61:2-10, 76:12-77:7, 61:19-62:24, 73:14-20, 74:18-22. This type of

evidence creates a fact question as to whether J.G. made a voluntary choice free

of coercion. If not, then the superior knowledge rule does not apply.

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      Second, the superior knowledge rule also does not apply because it

requires proof that J.G. “failed to exercise ordinary care for her own safety.”

Gateway Atlanta Apartments, Inc. v. Harris, 290 Ga. App. 772, 775, 660 S.E.2d 750,

754 (2008); see, e.g., Currie v. Chevron U.S.A., Inc., 266 Fed. Appx. 857 (11th Cir.

2008) (affirming district court finding that questions of material fact existed as to

whether the plaintiff exercised ordinary care when she did not attempt to flee threats

from significant other under coercive circumstances). There is at least a fact

question whether J.G. exercised ordinary care by not trying to escape from the armed

and violent traffickers she met at United Inn who were “cool” with United Inn staff,

who received help from United Inn staff, and who did not feel the need to hide their

criminal activities from United Inn staff. Ex. 1, J.G. Dep. at 93:3-94:13, 104:15-

105:25.

                                     CONCLUSION

      For these reasons, United Inn’s motion for summary judgment should be

denied.

      This 18th day of January, 2024.

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                       CERTIFICATE OF COMPLIANCE

        This is to certify that the foregoing pleading has been prepared with a font

and point selection approved by the Court in LR 5.1., NDGA. Specifically, the

above-mentioned pleading was prepared using Times New Roman font of 14-point

size.

                                       Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      The undersigned hereby certify that Plaintiff, through her attorneys, has

served a true and correct copy of the foregoing pleading into this District’s ECF

System, which will automatically forward a copy to counsel of record in this matter.

      Dated: This 18th day of January, 2024.

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